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                                 UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater                       MDL 2179
Horizon” in the Gulf of Mexico, on April 02,
2010                                                             SECTION J

                                                                 JUDGE CARL J. BARBIER
This Document Relates to:
Donovan v. Barbier; et al                                        MAGISTRATE
2:21:cv-00237                                                    DONNA PHILLIPS CURRAULT



                               MOTION TO FIX ATTORNEYS’ FEES

           NOW INTO COURT, through undersigned counsel, come Stephen J. Herman and James

P. Roy to move this Honorable Court to fix the amount of attorneys’ fees that should be awarded

in accordance with this Court’s Order (Rec. Doc. 27180) granting their Motion for Sanctions and

to Enjoin Further Frivolous Filings (“Motion”) by plaintiff and counsel, Brian J. Donovan of The

Donovan Law Group (collectively “Mr. Donovan”) (Rec. Doc. 26999). For the reasons set forth

in the accompanying supporting memorandum, this Court should fix the total amount of

recoverable attorneys’ fees and costs to be $86,154.70 and allocate $71,180.50 to Mr. Herman

and $14,974.20 to Mr. Roy. 1

           WHEREFORE, Stephen J. Herman and James P. Roy pray that, after due proceedings are

had, this Court will enter an order awarding to the amount of $71,180.50 to Mr. Herman and

$14,974.20 to Mr. Roy representing the reasonable amount of attorneys’ fees and costs expended

by each them in responding to the repeated lawsuits filed and frivolous claims made against them

by Brian J. Donovan in Donovan I and Donovan III.



1
 Additional hours have been expended and attorneys’ fees incurred in preparing the instant Motion to Fix
Attorney’s Fees that are not reflected or being sought here.


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                                             Respectfully submitted,


                                             /s/ Edward W. Trapolin
                                            Edward W. Trapolin, Esq. (Bar No. 27667)
                                            Gus A. Fritchie, III (Bar No. 5751), T.A.
                                            IRWIN FRITCHIE URQUHART & MOORE LLC
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                                            New Orleans, Louisiana 70130
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                                            FAX: (504) 310-2101

                                            Attorneys for Stephen J. Herman and James P. Roy

                                  CERTIFICATE OF SERVICE

           I hereby certify that the above and foregoing Motion to Fix Attorneys’ Fees has been
served on All Counsel by electronically uploading the same to File and ServeXpress in
accordance with Pretrial Order No. 12, as amended, and that the foregoing was electronically
filed with the Clerk of Court of the United States District Court for the Eastern District of
Louisiana by using the CM/ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this 13th day of August 2021.



                                                     /s/ Edward W. Trapolin




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